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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                               Judge Phillip S. Figa

Criminal Action No. 06-CR-00217-PSF

UNITED STATES OF AMERICA,

      Plaintiff,

v.

MICHAEL ANTHONY ROMERO,

      Defendant.



                           ORDER REGARDING MOTIONS


      This matter is before the Court on the defendant’
                                                      s numerous discovery motions

(Dkt. ## 16-26). The government is DIRECTED to respond to these motions no later

than 5:00 p.m. Tuesday, July 25, 2006. Upon receipt of said responses, the Court will

set a motions hearing if necessary.

      DATED: July 18, 2006

                                             BY THE COURT:


                                             s/ Phillip S. Figa
                                             ________________________________
                                             Phillip S. Figa
                                             United States District Judge
